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7    Attorneys for Maricopa County Treasurer

8                           UNITED STATES BANKRUPTCY COURT

9                                    DISTRICT OF ARIZONA

10    In Re:                                      Case No. 2:22-bk-01411-MCW

11    Heidi Tatiana Hamor and Tracy Ann           OBJECTION TO CONFIRMATION OF
      Land,                                       CHAPTER 13 PLAN [Dkt #2]
12
               Debtors.                           (CHAPTER 13)
13

14          Maricopa County Treasurer (“MCT”) objects under 11 U.S.C. §§ 1322 and 1325 to

15   confirmation of the Chapter 13 Plan (the “Plan”) filed by Debtors and states the following:

16          1.      MCT is a “party in interest” within the meaning of 11 U.S.C. § 1324 and may

17   therefore assert this objection to confirmation.

18          2.      John M. Allen is the duly elected Treasurer of Maricopa County, State of

19   Arizona.

20          3.      Debtors’ real property located at 5535 W. Kowalsky Lane, Laveen, Arizona,

21   identified as Parcel 104-73-435, is encumbered with fully secured tax liens under A.R.S.

22   § 42-17153. Therefore, MCT holds a “secured claim” under 11 U.S.C. § 506. See, Matter

23   of Stanford, 826 F.2d 353 (5th Cir. 1987).

24          4.      Under Arizona law, the tax liens on the above-described real property
1    attached on January 1 of the respective tax years and are “prior and superior to all other

2    liens and encumbrances on the property.” See, A.R.S. § 42-17153.

3             5.      MCT filed a secured Proof of Claim (the “MCT Claim”) in the amount of

4    $5,127.32 representing the 2nd half 2021 and estimated 2022 real property taxes on

5    Parcel 104-73-435. The real property taxes accrue interest from the time of delinquency

6    at the statutory rate of 16% per annum until paid in full. See, 11 U.S.C. § 511 and A.R.S.

7    § 42-18053.

8             6.      The lien securing the 2022 taxes arose prepetition on January 1, 2022 and

9    is therefore included in the prepetition claim. The 2022 taxes become due and payable

10   post-petition. Provision must be made in the Chapter 13 Plan for the payment of the 2022

11   taxes.

12            7.      MCT objects to the Plan because it fails to provide for payment of the MCT

13   Claim, including accrued and accruing interest, and retention of the tax liens until the

14   taxes and all interest are paid in full. In addition, the Plan fails to provide for payment of

15   the 2022 taxes on Debtors’ property which are prepetition taxes that become due and

16   payable post-petition.

17            8.      The Bankruptcy Code requires the Debtor to pay MCT: (a) its entire secured

18   claim; and (b) post-petition interest on its secured claim until the claim is paid in full. See,

19   11 U.S.C. §§ 1325(a)(5)(B)(ii), 506 and 511; U.S. v. Ron Pair Enterprises, Inc., 489 U.S.

20   235, 109 S.Ct. 1026 (1989).

21            Based on the foregoing, MCT respectfully requests that the Court deny

22   confirmation of Debtors’ Plan or order that the Plan be amended to:

23            (1) provide for payment of the MCT Claim, including statutory interest, as a

24                 secured tax claim, and
                                                     2
1           (2) and provide for retention of the tax liens until the taxes and interest have been

2              paid in full.

3           RESPECTFULLY SUBMITTED this 6th day of May, 2022.

4                                              RACHEL H. MITCHELL
                                               MARICOPA COUNTY ATTORNEY
5

6                                              BY: /s/ Peter Muthig
                                                   PETER MUTHIG
7                                                  Deputy County Attorney
                                                   Attorney for Maricopa County Treasurer
8

9

10   Original of the foregoing E-filed
     this 6th day of May, 2022, with:
11
     Clerk, United States Bankruptcy Court
12   District of Arizona
     230 North First Avenue, Suite 101
13   Phoenix, Arizona 85003-1706

14   COPY of the foregoing mailed or e-mailed,
     this 6th day of May, 2022, to:
15
     Russell Brown
16   3838 North Central Avenue, Suite 800
     Phoenix, Arizona 85012-1965
     Email: mail@ch13bk.com
17   Chapter 13 Trustee

18   Eric R. Thieroff
     Oswalt Law Group, P.C.
19   3933 S. McClintock Drive, Suite 500
     Tempe, Arizona 85282
     Email: ethieroff@oswaltlawgroup.com
20   Attorney for Debtors
21   /s/ Marcy Delgado
22

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